              Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 1 of 32




                              IN THE UNITED STATES DISCTRICT COURT FOR
                                  THE SOUTHERN DISTRICT OF GEORGIA
                                          SAVANNAH DIVISION

    BRIAN J. HUFFMAN, ESQ., as                             )
    Administrator of the Estate of ELIUD                   )
    MONTOYA-ARCOS, Deceased,                               )
                                                           )
                 Plaintiff,                                )
                                                           )            CIVIL ACTION FILE
    v.                                                     )            NO. 4:18-cv-00184
                                                           )
    THE DAVEY TREE EXPERT COMPANY,                         )
    et al.,                                                )
                                                           )
                 Defendants.
                                                           )

         PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT OSCAR CRUZ’S
              MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

         Brian J. Huffman, Esq., as Administrator of the Estate of Eliud Montoya-Arcos, Deceased,

hereby responds in opposition to Defendant Oscar Cruz’s June 2024 motion to dismiss Plaintiff’s

Amended Complaint (Doc. 208). For the reasons that follow, Cruz’s motion to dismiss should be

denied.1

         I.       Preliminary Statement

         In late 2017, Montoya’s widow filed a wrongful death case in the State Court of Chatham

County, Maria Montoya v. Davey Tree, et al. (STCV17-01873), against many of those responsible

for her husband Eliud Montoya’s August 19, 2017 murder. After additional investigation,

Montoya’s Estate filed claims in the State Court of Chatham County that only it could bring,

including claims under the Georgia RICO Act. Defendants removed the Estate’s claims to this

Court.

1
 Cruz’s motion is in large part a cut-and-paste duplicate of most of the arguments made in Davey Tree and Wolf
Tree’s motion to dismiss. See Doc. 209. Accordingly, to the extent Cruz’s and the Davey Tree and Wolf Tree’s
arguments are the same, Plaintiff adopts those arguments made in his response to Davey Tree and Wolf Tree’s
motion to dismiss.
      Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 2 of 32




    Both actions remained stayed during the DOJ’s multi-year investigation and prosecution of

some of the crimes related to Montoya’s murder. Individual Defendants Cruz and Rangel, who

were supervisors of the Corporate Defendants, pled guilty to a host of crimes surrounding

Montoya’s murder, including conspiracy, retaliation against a federal witness resulting in death,

harboring and concealing illegal aliens and money laundering. Last year, the Davey Tree Company

(“Davey Tree”) and Wolf Tree, Inc. (“Wolf Tree”) (collectively the “Corporate Defendants”)

recently paid to the United States almost $4 million to resolve criminal allegations associated with

the murder of Montoya. See https://www.justice.gov/usao-sdga/pr/companies-employed-labor-

whistleblower-and-his-killers-reach-criminal-civil-resolution (last visited Sept. 11, 2023).

    Plaintiff filed an Amended Complaint on July 14, 2023. In compliance with the Court’s March

27, 2024 Order (Doc. 193), Plaintiff filed a 108-page RICO Statement on April 24, 2024.2 (Doc.

196). Afterwards, Cruz filed a renewed motion to dismiss, which regurgitates arguments

previously made.

    II.      Statement of Especially Pertinent Facts3

    Davey Tree and Wolf Tree (formed by Davey Tree as a wholly owned division in 2008) were

in the business of trimming trees along power lines for utility companies. (AC, ¶ 16; RS, p. 3). The

Corporate Defendants’ operation in the Savannah area was called the Savannah Call Center. (AC,

¶ 19; RS, p. 3). From 2008 through most of 2017, the vast majority of the employees working at

the Savannah Call Center were illegal aliens. Cruz and the other Defendants all knew that the vast


2
  A RICO case statement is considered as part of the pleadings on a motion to dismiss. O’Malley v. O’Neill, 887 F.2d
1557, 1559 (11th Cir. 1989) (utilizing both complaint and RICO case statement filed by plaintiffs pursuant to an order
entered by the district court to analyze plaintiffs’ claims). See also LABMD Inc. v. Boback, 47 F.4th 164, 179 n. 11
(3d Cir. 2022); Guidry v. Bank of LaPlace, 954 F.2d 278, 281 (5th Cir. 1992) (in determining whether complaint states
a claim, facts set forth in a RICO case statement required by the local rules must be considered); Tal v. Hogan, 453
F.3d 1244, 1262 n. 18 (10th Cir. 2006) (considering the allegations made in a plaintiff’s RICO case statement in
conjunction with the complaint).
3
  The following facts are alleged in the Amended Complaint (“AC,” Doc. 123) and RICO Case Statement (“RS,” Doc.
196), but do not constitute all pertinent facts alleged therein.


                                                         -2-
     Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 3 of 32




majority of the Savannah Call Center workforce were illegal aliens, with some learning later than

others. (AC, ¶ 19; RS, p. 3). Defendant Rangel, an illegal alien, was the paid supervisor of the

Savannah Call Center. (Id.). In addition to serving as Davey Tree and Wolf Tree’s paid supervisor,

Rangel operated as an independent labor broker, locating and recruiting illegal aliens to work for

Davey Tree and Wolf Tree and providing them with false identities and false identification

documentation. (AC, ¶ 20; RS, p. 3). The false identities and false identification documents served

to provide Wolf Tree and Davey Tree with a cheap, illegal workforce and concealed the illegal

nature of that workforce from the authorities and from Davey Tree and Wolf Tree’s customers.

(AC, ¶ 20; RS, pp. 3-4).

   Rangel charged the illegal aliens he recruited to work for Davey Tree and Wolf Tree for false

identities and false identification documents. (AC, ¶ 22; RS, p. 4). The illegal aliens would also

pay Rangel for securing them a job at the Savannah Call Center. (Id.). Davey Tree and Wolf Tree

sent directly to Rangel paychecks and wire transfers totaling over $3 million, which Rangel and

others divided among themselves and the illegal alien workforce. (AC, ¶ 23; RS, p. 4).

   In addition to selling false identities, Rangel harbored and concealed many of the illegal aliens

who worked for the Savannah Call Center. (AC, ¶ 25; RS, p. 4). Davey Tree and Wolf Tree were

aware of Rangel’s separate, illegal-alien harboring scheme and wired employees’ pay to Rangel,

in part to promote Rangel’s harboring and concealing scheme. (AC, ¶¶ 25-26; RS, p. 4). In 2013,

Defendant Cruz began assisting Rangel with his harboring-concealing-illegal-aliens scheme. (AC,

¶ 24; RS, p. 4). As directed by Rangel, Cruz made cash withdrawals and provided cash to illegal

alien workers, knowing the workers were illegal aliens and that Rangel was receiving money in

return from the illegal alien workers. Rangel paid Cruz thousands of dollars for his assistance with

the harboring-illegal-aliens scheme. (Id.).




                                                -3-
     Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 4 of 32




   Georgia Power was the Savannah Call Center’s only customer. (AC, ¶ 27; RS, p. 4). Georgia

Power paid the Corporate Defendants millions of dollars each year to provide tree-trimming

services. (AC, ¶ 28; RS, p. 4). For each Georgia Power contract signed, the Corporate Defendants

fraudulently certified and represented to Georgia Power that they verified the legality of their

workforce. (AC, ¶ 29; RS, p. 4). Davey Tree and Wolf Tree also used Rangel and Cruz to provide

fictitious identification documents to Georgia Power to deceive Georgia Power into issuing

identification cards to illegal aliens. (AC, ¶ 30; RS, pp. 4-5). Based on false representations of the

legality of the Savannah Call Center workforce, Georgia Power transferred millions of dollars by

interstate wires into the Corporate Defendants’ accounts. (AC, ¶¶ 28-29; RS, pp. 4-5).

   Eliud Montoya was a U.S. citizen who worked as a tree trimmer and team leader for Wolf Tree

and Davey Tree at the Savannah Call Center for over ten years before his murder in August 2017.

(AC, ¶ 38; RS, p. 5). While a member of the Savannah Call Center, Montoya witnessed numerous

violations of Georgia and federal law relating to the employment and mistreatment of illegal aliens.

(AC, ¶ 42; RS, p. 5). In April 2017, pursuant to Davey Tree and Wolf Tree’s whistleblower policy,

Montoya contacted Davey Tree to report illegal and dangerous conduct. (AC, ¶ 49; RS, p. 5). Both

orally and in writing, Montoya reported the following to Davey Tree and Wolf Tree: (a) most of

the Savannah Call Center workers were illegal aliens; (b) the Savannah Call Center supervisor,

Rangel, had sold false identifications to the illegal-alien employees; (c) Rangel paid the illegal-

alien workers in cash; (d) Rangel took money from the illegal-alien workforce; and, (e) Rangel

allowed illegal aliens to operate the Savannah Call Center’s commercial vehicles without licenses.

(AC, ¶ 50; RS, p. 5). In his reports to Davey Tree and Wolf Tree, Montoya stated he had reported,

and intended to report again to law enforcement, the illegal and dangerous conduct he had

observed. (AC, ¶ 51; RS, p. 5).




                                                 -4-
        Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 5 of 32




    Montoya did not know that Wolf Tree and Davey Tree were already aware of many, if not all,

of the reported criminal conduct. (AC, ¶ 47; RS, p. 5). Instead of lawfully addressing Montoya’s

reports of serious criminal and dangerous conduct, Cruz and the other Defendants, aided and

abetted by each other, engaged in a systematic effort to silence Montoya, through physical threats,

economic threats, intimidation, retaliation, deception, and ultimately murder. (AC, ¶ 53; RS, pp.

5-6).

    Immediately after receiving Montoya’s April 2017 written report, Defendant Conner, Davey

Tree’s In-House Counsel; Defendant Branch, Rangel’s immediate supervisor; and other Wolf Tree

and Davey Tree corporate officers decided not to investigate Montoya’s confidential reports

promptly or confidentially. (AC, ¶ 55; RS, p. 6). Instead, in flagrant disregard of Davey Tree and

Wolf Tree’s whistleblower policy, Conner, Branch and other Wolf Tree and Davey Tree corporate

officers decided to provide Montoya’s written whistleblower complaint to Rangel, intending that

he would silence Montoya.4 (Id.).

    As agreed by Branch, Conner and other Wolf Tree and Davey Tree officers, Branch provided

Rangel with a copy of Montoya’s written whistleblower report, and told Rangel that Montoya was

the whistleblower. (AC, ¶ 56; RS, p. 6). Upon reading Montoya’s report, Rangel admitted to

Branch that he had provided illegal aliens hired at the Savannah Call Center with false

identifications in exchange for money. (Id.). Branch reported to Conner and other Wolf Tree and

Davey Tree corporate officials Rangel’s confirmation of serious criminal conduct. (Id.).




4
  As alleged in the Amended Complaint and RICO Statement, in 2016, Montoya made a similar oral whistleblower
report to Davey Tree and Wolf Tree pursuant to the companies’ whistleblower policy. (AC, ¶¶ 43-45; RS, pp. 17-18,
93). In his report, Montoya stated his intent to report the criminal activity he observed to both the Department of
Transportation and the Department of Labor, agencies on the State or federal side with law enforcement authority.
(AC, ¶ 45). As in 2017, Davey Tree and Wolf Tree blatantly violated their own policy by not investigating Montoya’s
report and by revealing the report to Rangel, including telling Rangel that Montoya was the whistleblower. (AC, ¶¶
43-48; RS, p. 18).


                                                       -5-
     Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 6 of 32




   After the meeting with Rangel, Branch, Conner and other Wolf Tree and Davey Tree officers

decided to have Rangel deal with Montoya directly. (AC, ¶¶ 59-60; RS, pp. 6, 37). Branch, Rangel

and Cruz then discussed calling a meeting of all Savannah Call Center employees during which

Rangel would disclose Montoya’s whistleblower report, and the fact that Montoya was the

whistleblower, to the other employees, for the purpose of silencing, intimidating and retaliating

against Montoya. (AC, ¶¶ 53-54, 60; RS, p. 37).

   In early May 2017, Rangel and Cruz called a meeting of the approximately 30 Savannah Call

Center employees, including Montoya. (AC, ¶ 61; RS, p. 6). During the meeting, Rangel read

Montoya’s whistleblower report aloud, all the while threatening and intimidating Montoya. (Id.).

Immediately, many of the illegal-alien employees became enraged, and threatened Montoya with

physical violence and death. (Id.). After purposefully causing a riot and assaults against Montoya,

Rangel told Montoya that “nothing was going to come of” his whistleblower report. (Id.). Cruz

kept Branch updated on what was happening during the riot. (AC, ¶ 61; RS, pp. 6-7).

   Montoya immediately reported Rangel’s threatening and retaliatory actions to Davey Tree and

Wolf Tree, but there was no response. (AC, ¶ 62; RS, p. 7). Branch, Conner and other Davey Tree

and Wolf Tree officials were well aware of Rangel’s threatening and retaliatory actions against

Montoya, but they purposefully did nothing to prevent or correct them. (Id.). Rangel’s retaliation

against Montoya was sanctioned, ratified and aided by all Defendants and was meant to deter and

intimidate Montoya from making further reports to law enforcement. (AC, ¶ 63; RS, p. 7).

   In mid-May 2017, days after the riot, Montoya asked to speak in private with Davey Tree’s

Regional Safety Manager, who was in Savannah inspecting the Savannah Call Center. (AC, ¶ 64;

RS, p. 7). Montoya provided the Safety Manager with a copy of his written, April 2017

whistleblower report. (AC, ¶ 65; RS, p. 7). He also identified for the Safety Manager the illegal-




                                               -6-
     Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 7 of 32




alien employees who were working under false names. (Id.). The Safety Manager was stunned and

blown away by Montoya’s report. (AC, ¶ 66; RS, p. 7). He contacted both his own supervisor and

Branch to determine what should be done. (Id.). His supervisor and Branch both quickly told the

Regional Safety Manager not to take any further action, except to forward his notes regarding the

matter to Conner. (Id.).

   Faced again with a decision of whether to halt the illegal and dangerous conduct reported by

Montoya, Cruz and the other Defendants chose to retaliate, threaten and intimidate Montoya.

(AC, ¶ 67; RS, p. 7). A few days after Montoya provided his whistleblower report to Davey Tree’s

Regional Safety Manager, Branch and a Wolf Tree and Davey Tree corporate official directed

Cruz to cite Montoya with an “unsatisfactory work” employee violation notice, which he did. (AC,

¶ 68; RS, pp. 7-8). The alleged employee violation was baseless and concocted by Cruz, Branch

and others acting on behalf of Wolf Tree and Davey Tree. (AC, ¶ 69; RS, p. 8). The employee

violation notice to Montoya was issued in retaliation for his whistleblower reports and meant to

deter and intimidate Montoya from providing further reports to government authorities, including

law enforcement. (AC, ¶¶ 69, 127; RS, p. 8).

   In the summer of 2017, Montoya was informed that Conner was in charge of addressing his

various whistleblower complaints. (AC, ¶ 70; RS, p. 8). Montoya had several conversations with

Conner in the summer of 2017 about his knowledge of the criminal and dangerous activities

outlined in his various whistleblower complaints. (Id.). Both Conner and Branch falsely assured

Montoya that his 2017 whistleblower reports were being promptly investigated and taken seriously

by Davey Tree and Wolf Tree in compliance with the companies’ whistleblower policy. (AC, ¶

72; RS, p. 8). Conner and Branch’s statements to Montoya were intentionally misleading, and were

meant to hinder, delay and prevent reports by Montoya to law enforcement and other government




                                               -7-
       Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 8 of 32




authorities regarding Montoya’s knowledge of criminal and dangerous conduct. (AC, ¶ 72; RS, p.

8).

      In July 2017, Conner requested that Montoya provide her with proof of the statements made

in his whistleblower reports. (AC, ¶ 73; RS, p. 8). At the time of this request, Conner knew Rangel

had confirmed his criminal activities to Branch and had caused a riot against Montoya. (Id.).

Conner’s request was intended to mislead Montoya, made with an intent to hinder, delay and

prevent Montoya’s communications with law enforcement. (Id.).

      In reliance upon Conner’s representations, Montoya again decided to provide information to

Davey Tree and Wolf Tree instead of making reports to state and federal authorities. (AC, ¶ 74;

RS, p. 9). At the time, Montoya still believed Conner, Branch and Davey Tree and Wolf Tree

would take appropriate action to address the criminal conduct he outlined in his whistleblower

complaints. (AC, ¶ 74). Montoya did not know Conner, Branch, Cruz, Rangel, Davey Tree, Wolf

Tree and others were all working together to silence Montoya in an effort to protect their criminal

enterprise. (Id.).

      On August 7, 2017, in response to Conner’s request, Montoya provided Conner signed

statements by three illegal-alien employees at the Savannah Call Center. (AC, ¶ 75; RS, p. 9). The

statements again confirmed that: (a) many Savannah Call Center employees were illegal; and (b)

Rangel was providing multiple false identification documents to illegal-alien employees. (Id.).

      Faced yet again with whether to halt Defendants’ criminal and dangerous conduct, Wolf Tree,

Davey Tree, Conner, Branch, Cruz, and Rangel again chose to protect their criminal enterprise by

retaliating against, threatening and intimidating Montoya. (AC, ¶ 76; RS, p. 9). Despite knowing

that Branch provided Rangel with Montoya’s written whistleblower report resulted in Montoya’s

life being threatened, Conner provided the three signed statements to Branch. (AC, ¶ 77; RS, p. 9).




                                                -8-
     Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 9 of 32




Branch then provided the signed statements to Rangel, who then responded with threats of violence

against two of the three illegal-alien employees. (AC, ¶ 77-78; RS, p. 9). Conner and Branch’s

actions were intended to solicit Rangel to silence Montoya and the three illegal-alien employees

who provided the signed statements. (Id.).

   On August 16, 2017, Davey Tree and Wolf Tree again acted to silence Montoya. (AC, ¶ 79;

RS, p. 9). That day, an officer of Davey Tree and Wolf Tree traveled to Savannah and suspended

Montoya for three days on a false and fabricated “safe practice violation.” (Id.). Wolf Tree and

Davey Tree’s suspension of Montoya was intended to intimidate Montoya, cause him economic

harm, retaliate against him for his continued whistleblower reports, and to deter him from

providing further reports to government authorities, including law enforcement. (AC, ¶ 80; RS,

pp. 9-10). Conner, Branch, Rangel and Cruz all were aware that Montoya was suspended based

upon a false and fabricated violation. (AC, ¶ 81; RS, p. 10)

   After his suspension, Montoya realized Conner, Branch, Davey Tree and Wolf Tree would not

take appropriate action to address the criminal and dangerous conduct outlined in his

whistleblower complaints. (RS, p. 10). On August 16, 2017, Montoya informed Conner he was

reporting the criminal and dangerous conduct of Rangel, Davey Tree, Wolf Tree and others to the

EEOC, which he did on August 17, 2017. (AC, ¶¶ 82, 84; RS, p. 10).

   Knowing that Rangel was a dangerous criminal, Conner and Branch informed Rangel of

Montoya’s efforts to report criminal activities to federal authorities. (AC, ¶ 83; RS, p. 10). In so

doing, Conner intended to solicit the obstruction of a federal investigation through violent means.

(AC, ¶ 83). After Montoya’s August 17, 2017, report to the EEOC, Cruz and the other Defendants

were aware their previous efforts to mislead, threaten and intimidate had failed to silence

Montoya. (AC, ¶ 85; RS, p. 10). On Friday, August 18, 2017, Cruz, who was aware of Montoya’s




                                                -9-
    Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 10 of 32




report to the EEOC, assisted Rangel in canceling work for all Savannah Call Center employees for

Saturday, August 19, 2017. (AC, ¶ 86; RS, p. 10). There was no legitimate reason for the

cancellation: The Savannah Call Center employees always worked Saturdays and were already far

behind in meeting the then-existing Georgia Power contracts. (Id.).

   The next day, August 19, 2017, Montoya was brutally murdered, shot in the back twice and

once in the back of the head. (AC, ¶ 87; RS, p. 10). Rangel planned the murder and enlisted his

brother Juan, a Savannah Call Center employee, as the trigger man. (Id.).

   In a February 14, 2018, deposition, taken under oath and in a Georgia judicial proceeding,

Cruz knowingly provided materially false testimony. Specifically, Cruz testified he was not aware

any of the Savannah Call Center employees working before Montoya’s murder were illegal aliens.

As Cruz then well knew, the vast majority of the employees working at the Savannah Call Center

before Montoya’s murder were illegal aliens. Cruz’s false testimony was made to conceal criminal

activities committed by Defendants’ criminal enterprise. (AC, ¶ 92, RS, p. 36). On December 6,

2018, after providing false testimony in a civil action, Cruz pled guilty to four-year conspiracy to

conceal, harbor and shield illegal aliens in violation of 8 U.S.C. § 1324(a)(1)(A)(v)(I). (AC, ¶ 93)

   III.    Cruz’s Motion to Dismiss is Meritless.

   In considering a motion to dismiss, this Court must “accept the allegations in the complaint as

true, construing them in the light most favorable to the plaintiff.” Murphy v. FDIC, 208 F.3d 959,

962 (11th Cir. 2000). All that is required is “a short and plain statement of the claim showing that

the pleader is entitled to relief,” Fed. R. Civ. P. 8(a)(2), that “give[s] the defendant fair notice of

what the . . . claim is and the grounds upon which it rests,” Bell Atl. Co. v. Twombly, 550 U.S. 544,

555 (2007).




                                                 -10-
    Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 11 of 32




           A. The Georgia RICO Counts (Counts 1, 2 and 3)

   Plaintiff has alleged three separate violations of the Georgia RICO Act against Cruz and the

other Defendants: that Cruz and the other Defendants conducted and participated in an enterprise

through a pattern of racketeering activity, in violation of O.C.G.A. § 16-14-4(b) (Count 1); that

Cruz and the other Defendants acquired and maintained interest in an enterprise and property

through a pattern of racketeering activity, in violation of O.C.G.A. § 16-14-4(a) (Count 2), and

that Cruz and the other Defendants conspired and endeavored to violate § 16-14-4(a) and § 16-14-

4(b), in violation of O.C.G.A. § 16-14-4(c) (Count 3). None of Cruz’s challenges to the allegations

set out in those Counts demonstrate that dismissal is appropriate.

                 1. The RICO Counts Adequately Allege Proximate Cause.

   A claim under Georgia’s RICO Act requires Plaintiffs to “show that [their] injury flowed

directly from at least one of the predicate acts.” Wylie v. Denton, 323 Ga. App. 161, 166 (2013).

“[T]o survive a motion to dismiss, [Plaintiffs] asserting a RICO claim must allege more than that

an act of racketeering occurred and [they were] injured.” Id. Plaintiffs also must allege some

“direct nexus” between a racketeering act and their injury, and that “[their] injury was the direct

result of a predicate act targeted toward [them], such that [they were] the intended victim.” Id.

   Cruz contends that the Amended Complaint fails sufficiently to allege a direct nexus between

any predicate act alleged to have been committed, attempted, solicited or coerced and Montoya’s

injuries. In this regard, Cruz advances two main arguments: (1) many of the predicate acts alleged

to have been committed, attempted, solicited or coerced by certain Defendants did not injure

Montoya; and, (2) the predicate acts that did injure Montoya are insufficiently pled. Cruz’s

proximate cause arguments are lifted almost verbatim from the Corporate Defendants’ motion to

dismiss. Like the Corporate Defendants’ arguments, Cruz’s arguments are without merit.




                                               -11-
    Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 12 of 32




                       a. There Is No Requirement that Montoya Be Injured by Each
                          Predicate of a Pattern of Racketeering Activity.

   Cruz argues that Montoya was not directly injured by several of the predicate acts alleged in

the Amended Complaint, including: Rangel and Cruz’s harboring and concealing from detection

illegal aliens; Rangel’s sale of false identity documents to illegal aliens; Davey Tree and Wolf

Tree’s laundering of monies to fund Rangel’s outside recruitment-harboring-concealing-illegal-

alien scheme; Davey Tree and Wolf Tree’s scheme to defraud Georgia Power; Rangel’s assaults

on illegal-alien employees; Cruz and Conner’s perjury; and Conner’s false statements to law

enforcement.

   However, “[w]hile it is certain that a plaintiff in a civil RICO suit must show an injury by

reason of a violation . . . , there is no requirement that plaintiff suffer direct harm from each and

every alleged predicate act introduced to show a pattern of racketeering activity.” InterAgency,

Inc. v. Danco Fin. Corp., 203 Ga. App. 418, 424 (1992) (emphasis added).

     Cruz misses the point. Pattern and proximate cause are separate requirements. A claim based

upon a substantive violation of O.C.G.A. § 16-14-4(a) or (b) requires proof of a pattern of

racketeering activity. Under Georgia RICO, this requires only two related predicate acts. Dorsey

v. State, 279 Ga. 534, 539-540 (2005); Overton v. State, 295 Ga. App. 223, 232 (2008); Dover v.

State, 192 Ga. App. 429, 432 (1983). “This does not mean that each RICO defendant must commit

at least two acts to come under the Act’s prohibitions,” Faillace v. Columbus Bank & Trust Co.,

269 Ga. App. 866, 868 (2004), because where a pattern of racketeering activity is present, each

defendant that participates in that pattern, whether by one act or more, is liable. Id. Also, a pattern

of racketeering activity may consist in part of acts which caused no harm, as well as acts which

caused harm to persons other than the plaintiff. InterAgency, 203 Ga. App. at 423-24 (affirming




                                                 -12-
    Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 13 of 32




verdict in favor of plaintiff based on a pattern of racketeering activity that consisted in part of acts

committed against third parties).

    Proximate cause, meanwhile, only requires that a plaintiff be injured by one or more of the

predicate acts that comprise the pattern: “To satisfy the proximate cause element of RICO, a

plaintiff must show that [his] injury flowed directly from at least one of the predicate acts.” Wylie,

323 Ga. App. at 165 (emphasis added). Accord, Nicholson v. Windham, 257 Ga. App. 429, 430

(2002) (plaintiff must show a direct nexus between at least one predicate act and the injury she

purportedly sustained). Accordingly, even if Defendants are correct that there is no direct nexus

between some predicate acts and Montoya’s injuries, that is no reason to dismiss the RICO Counts.

                        b. The Amended Complaint Has Adequately Pled a Direct Nexus
                           Between Cruz’s Racketeering Activity and All of Montoya’s
                           Injuries.

    Cruz and the other Defendants participated in an association-in-fact enterprise, the Davey-

Rangel Enterprise, for the common purpose of making money illegally and concealing and

preventing detection of the enterprise’s illegal activities. In April 2017, years into the commission

of numerous state and federal crimes relating to harboring and concealing an illegal-alien

workforce and a multi-million dollar fraud scheme, Eliud Montoya submitted a written

whistleblower complaint to Defendants Davey Tree and Wolf Tree, outlining a number of crimes

associated with the Savannah Call Center workforce and advising that he had spoken with and

planned to speak again with law enforcement about the various crimes he had witnessed. At this

point, Cruz’s participation in the Davey-Rangel Enterprise was for the common purpose of

concealing and preventing detection of the enterprise’s illegal activities, by means of “a systematic

effort to silence Montoya through physical threats, economic threats, intimidation, retaliation,

deception, and eventually murder.” (AC, ¶ 53).




                                                 -13-
    Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 14 of 32




       There is a direct nexus between Montoya’s injuries and Cruz and other Defendants’ May
       2017 influencing witness and terroristic threats.

   As alleged in the Amended Complaint, upon receipt of Montoya’s confidential whistleblower

report in April 2017, which outlined vast criminal conduct and stated an intent to continue speaking

with law enforcement, Defendants Branch, Conner and officers of Davey Tree and Wolf Tree

agreed to provide Montoya’s confidential written whistleblower complaint to Rangel so that

Rangel would deal with Montoya directly. (AC, ¶¶ 55, 60). Afterwards, Branch, Rangel and Cruz

discussed calling a meeting of all Savannah Call Center employees during which Rangel would

disclose Montoya’s whistleblower report, and the fact that Montoya was the whistleblower, to all

Savannah Call Center employees. (AC, ¶ 60). At the time, Cruz knew Montoya intended to report

and had reported to law enforcement the Corporate Defendants’ and Rangel’s criminal and

dangerous conduct. (AC, ¶ 54).

   Then, in early May 2017, Rangel and Cruz called a meeting of the approximately 30 Savannah

Call Center employees, with the intent to hinder, delay, dissuade and prevent Montoya from

reporting to, providing documents to, or testifying before law enforcement or official proceedings.

(Id., ¶¶ 54, 61). At the meeting, Rangel read Montoya’s written whistleblower report aloud,

identified Montoya as the whistleblower, and threatened and intimidated Montoya. (Id., ¶ 61).

Immediately, many of the Corporate Defendants’ illegal-alien employees became enraged, began

rioting, and threatened Montoya with physical violence and death, which was Rangel’s intended

purpose of his actions. (Id.). Cruz kept Branch updated on what was happening during the riot.

(Id.). After the threats and assaults by Davey Tree and Wolf Tree illegal-alien employees, Rangel

turned to Montoya and said “nothing was going to come of” his whistleblower report. (Id.).

   O.C.G.A. § 16-10-93(b)(1)(C) (Influencing Witnesses) provides, “It shall be unlawful for any

person knowingly to use intimidation, physical force, or threats . . . with intent to . . . [h]inder,



                                                -14-
    Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 15 of 32




delay, or prevent the communication to a law enforcement officer . . . of this state of information

relating to the commission or possible commission of a criminal offense . . . .”

   Montoya stated in his 2017 whistleblower report that most of the Davey Tree and Wolf Tree

Savannah employees were illegal aliens, that Rangel had sold false identification documents to

these illegal aliens, that illegal aliens were operating Davey Tree and Wolf Tree commercial

vehicles without licenses, and that he had reported the illegal and dangerous conduct to the

Department of Labor, a law enforcement agency. (AC, ¶ 50). In his written report, Montoya also

expressed a continued intent to speak with law enforcement “if the problem [was] not solved” by

the Corporate Defendants. (Id., ¶ 51).

   With knowledge of widespread, ongoing, and vast criminal conduct, Montoya’s contact with

law enforcement and his stated intent to continue doing so, Cruz, the Corporate Defendants,

Conner, and Branch solicited Rangel intimidate and threaten Montoya, with the intent to hinder,

delay and prevent Montoya’s communication with law enforcement, which Rangel did. (AC, ¶¶

59-63, 125; RS, p. 26).

   The early May 2017 “handling” of Montoya’s whistleblower complaint by Rangel also

constituted terroristic threats under Georgia law. Per O.C.G.A. § 16-11-37(b)(1), “[a] person

commits the offense of a terroristic threat when he or she threatens to . . . [c]omit any crime of

violence . . . .” As alleged in the Amended Complaint, in addition to personally threatening and

intimidating Montoya, Rangel read aloud Montoya’s whistleblower complaint to the illegal-alien

workforce to purposefully cause a riot and assaults against Montoya. (Id., ¶ 61). Rangel’s actions

produced his intended results: members of the illegal-alien workforce threatened Montoya with

serious bodily harm and death. “In so doing, Rangel, aided and abetted by Cruz and Branch,

solicited and coerced other [Davey Tree and Wolf Tree illegal-alien employees] to make terroristic




                                               -15-
     Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 16 of 32




threats against Montoya.” (Id., ¶ 126). Thus, the Amended Complaint has adequately pleaded a

direct nexus between Cruz’s participation in these two RICO predicate acts and Montoya’s

injuries.

        There is also a direct nexus between Montoya’s injuries and Cruz and the other
        Defendants’ continued efforts to silence Montoya after the riot.

    Despite threats and intimidation, Montoya continued to pursue his complaints of illegal and

dangerous conduct he witnessed. (AC, ¶¶ 64-65). Montoya’s additional actions were again met

with efforts by Defendants to silence him with additional threats and intimidation. (Id., ¶ 67).

    After the riot, Montoya reported Rangel’s threatening and retaliatory actions to Davey Tree

and Wolf Tree and provided his written whistleblower complaint to Davey Tree’s Regional Safety

Manager. (Id., ¶¶ 62, 64-65). Montoya further identified for the Safety Manager which Savannah

Call Center, illegal-alien employees were working under false names. (Id., ¶ 65). Upon instruction

by Branch and his own supervisor, the Regional Safety Manager took no action except to forward

his notes to Conner. (Id., ¶ 66).

    After Montoya’s continued efforts to expose ongoing criminal activity, which included making

his intent known to have further communications with law enforcement, all Defendants again

chose to retaliate against, threaten and intimidate Montoya through the following predicate acts:

           After a discussion with Branch and Davey Tree and Wolf Tree corporate officials,
            Cruz, on or about June 1, 2017, threatened Montoya with economic harm by citing him
            with a baseless and concocted employee violation notice, with the intended purpose of
            delaying hindering, preventing or dissuading Montoya from further providing
            information to law enforcement. (Id., ¶¶ 68, 69 and 127);

           On August 16, 2017, an officer of Davey Tree and Wolf Tree officer suspended
            Montoya on a false and fabricated “safe practice violation.” (Id., ¶ 79). Wolf Tree and
            Davey Tree’s suspension of Montoya was intended to intimidate Montoya and cause
            him economic harm and was made in retaliation for Montoya’s continued
            whistleblower reports and to deter and intimidate Montoya from providing further
            reports to government authorities, including law enforcement. (Id., ¶ 80).




                                                -16-
     Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 17 of 32




With regard to each of the predicate acts listed above, alleging violations of O.C.G.A. § 16-10-

32(b) (Threatening Witnesses), Cruz claims the Amended Complaint: (1) “fails to allege” Montoya

ever “indicated to anyone at Wolf Tree or Davey Tree that he planned to go to a law enforcement

officer – such as the local police or ICE;” (2) fails to allege that Cruz and the Corporate Defendants

verbally threatened Montoya with economic harm to dissuade him from testifying in any official

proceeding; and (3) fails to allege that an official proceeding even existed.

    As to argument (1), as alleged multiple times in the Amended Complaint, Montoya revealed

to all Defendants, including Cruz, that he had reported to law enforcement, the Department of

Labor, the criminal and dangerous conduct he observed, and intended to again if the “problem

[was] not solved” by Davey Tree and Wolf Tree. (AC, ¶ 51). This paragraph alone negates

argument (1). Cruz’s claim that Montoya should have initially made his report to a different law

enforcement agency is irrelevant to whether the Amended Complaint has been adequately pled.5

    As to argument (2), in paragraph 127 of the Amended Complaint, Plaintiff alleges that Cruz,

on June 1, 2017, “threatened economic harm to Montoya . . . with the intent to hinder, delay

prevent or dissuade Montoya from testifying in an official proceeding or reporting in good faith

to a law enforcement officer, the commission or possible commission of criminal offenses under

the laws of Georgia, in violation of O.C.G.A. § 16-10-32(b).” (AC, ¶ 127 (emphasis added)). Thus,

argument (2) is false.




5
 Perhaps revealing the weaknesses of their arguments, Cruz frequently strays beyond the four-corners of the Amended
Complaint and RICO Statement by claiming that properly pled allegations are “patently untrue” or “unfounded” or
“demonstrably false.” Such protestations are irrelevant to the Court’s inquiry here, and Plaintiff looks forward to
demonstrating the accuracy of his allegations when it is procedurally relevant. See Rainge v. Fay Servicing Ctr., LLC,
No. CV 116-016, 2016 WL 6824390, at *4 (S.D. Ga. Nov. 17, 2016) (“Defendant's argument presents an issue of
disputed fact inappropriate for determination on a motion to dismiss. Under the motion-to-dismiss standard, the Court
may only look at the ‘four corners of the complaint’ and limited documents attached to the complaint.”) (citing Speaker
v. U.S. Dep't of Health & Hum. Servs. Ctrs. for Disease Control & Prevention, 623 F.3d 1371, 1379 (11th Cir. 2010).


                                                        -17-
      Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 18 of 32




      As to argument (3), whether an official proceeding existed at the time Montoya notified Cruz

and the other Defendants that he was speaking to the Department of Labor is irrelevant to whether

the Amended Complaint has been adequately pled. As O.C.G.A. § 16-10-93(b)(3) states, “[a]n

official proceeding need not be pending or about to be instituted at the time of any offense defined

in [O.C.G.A. § 16-10-32(b)].” (Emphasis added). Thus, argument (3) fails too.

             Violent retaliation against a federal witness is another predicate with a direct nexus to
             Montoya’s injuries.

      As alleged in the Amended Complaint, after his suspension by Davey Tree and Wolf Tree,

Montoya informed Conner on or about August 16, 2017, that he was reporting the criminal and

dangerous conduct of Rangel, Davey Tree and Wolf Tree and others to the EEOC. (Id., ¶ 131).

Knowing Rangel was a dangerous criminal, Conner and Branch informed Rangel of Montoya’s

efforts to report criminal activities to federal authorities, with the intent to solicit the violent

retaliation against a federal witness, in violation of 18 U.S.C. § 1513. (Id., ¶¶ 83, 131). Rangel told

Cruz about Montoya’s report to federal authorities. (Id., ¶ 132). At the time, Cruz was already

aware that, in early August 2017, Rangel had threatened with bodily harm two other illegal-alien

employees after the employees signed declarations describing various criminal conduct. (RS, p.

35)

      On August 18, 2017, aware that Montoya had taken his allegations of criminal activities to

federal authorities, Cruz informed all of the Savannah Call Center employees that work for the

next day had been cancelled, with the intent to aid and abet retaliation against a federal witness, in

violation of 18 U.S.C. § 1513. (Id., ¶ 132). The next day, August 19, 2017, Rangel caused the

murder of Montoya, in violation of 18 U.S.C. § 1513 (Federal Witness Retaliation) and O.C.G.A.

§ 16-5-1 (Murder). (Id., ¶ 133).




                                                 -18-
    Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 19 of 32




   Cruz denies any involvement in Montoya’s murder. His denials of factual allegations in the

Amended Complaint, however, have no relevance in determining whether the Amended Complaint

has been properly pled. The direct nexus of Cruz’s involvement in the violent retaliation against

Montoya, a federal witness, has been properly pled.

   2. The Amended Complaint Has Adequately Pled a RICO enterprise.

   Cruz argues that under O.C.G.A. § 16-14-4(b) Plaintiff must allege an enterprise distinct from

the Defendants themselves and that he has failed to do so. Cruz is wrong in both respects.

               a.      The Federal Distinctness Requirement Does Not Apply to This Case.

   Cruz’s distinctness argument relies upon federal cases dealing with federal RICO claims, but

Georgia courts applying Georgia RICO take a different view of distinctness. These Georgia

cases—none of which are cited by the Corporate Defendants in any distinctness argument—apply

a different test. In Reaugh v. Inner Harbour Hospital, Ltd., 214 Ga. App. 259 (1994), the defendant

corporation argued that it could not also be the RICO enterprise. 214 Ga. App. at 262. The

argument was rejected, and the grant of summary judgment to the defendant on plaintiff’s RICO

claims was reversed, because there was evidence—as there are allegations in this case—that the

defendant corporation was both a perpetrator and a direct beneficiary of the pattern of racketeering

activity. Id. at 263. Reaugh held that where there is evidence that agents or employees of the

corporate defendant committed predicate offenses and material issues of fact existed with regard

to whether the corporation was a party to or involved in the commission of those offenses, the

enterprise may consist of the corporation and its agents or employees. Id. at 264.

   Georgia courts continue to apply Reaugh for this principle. For example, Duvall v. Cronic, 347

Ga. App. 763, 774–75 (2018), quoted Reaugh in reversing the grant of summary judgment to a

corporate co-defendant whose employee engaged in criminal acts, relying upon Reaugh’s holding




                                               -19-
    Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 20 of 32




that an enterprise may consist of a corporation and its agents or employees if the entity was a party

to or involved in the commission of the underlying offenses. Id. And just last year, a district court

in the Northern District of Georgia recognized that under Georgia law a RICO enterprise may

consist of a corporation and its agents or employees. Maverick Fund, Ltd. v. Mohawk Indus., Inc.,

No. 4:21-cv-00118-VMC, 2023 WL 2887603, *14 n.6 (N.D. Ga. Mar. 31, 2023) (quoting both

Duvall and Reaugh).

   Instead of addressing the Georgia cases that control the application of Georgia RICO, Cruz

relies upon inapposite cases dealing with the federal distinctness requirement. For example, Cruz

relies on Ray v. Spirit Airlines, Inc., 836 F.3d 1340 (11th Cir. 2016). (Doc. 144, p. 19). But that

case involved federal RICO, not Georgia RICO. Ray, 836 F.3d at 1345. Similarly, Cruz asserts

that “[t]he Fifth Circuit’s decision in Atkinson v. Anadarko Bank and Trust, 808 F.2d 438 (5th Cir.

1987), is particularly apt.” (Doc. 208, p. 19). But in Atkinson, as in Ray, only federal RICO was at

issue. See generally Atkinson, 808 F.2d at 439. In fact, no case cited by Cruz addresses a

distinctness argument involving a claim under O.C.G.A. § 16-14-4(b). Cruz’s arguments fail

because they are contrary to Georgia law.

               b. Even if the federal distinctness requirement did apply, the Amended
                  Complaint would satisfy it.

   Even if the federal distinctness requirement did apply, the Amended Complaint would satisfy

it. Cruz argues that under O.C.G.A. § 16-14-4(b) Plaintiff must allege an enterprise distinct from

the Defendants themselves and he has failed to do so. As set forth above, Cruz is wrong in the first

respect, and as set forth below, he is also wrong in the second.

   O.C.G.A. § 16-14-4(b) provides that:

   It shall be unlawful for any person employed by or associated with any enterprise to conduct or
   participate in, directly or indirectly, such enterprise through a pattern of racketeering activity.




                                                -20-
    Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 21 of 32




A RICO enterprise may consist of an association-in-fact. O.C.G.A. § 16-14-3(3). (“‘Enterprise’

means any . . . group of individuals associated in fact although not a legal entity. . . .”). “[T]he

Supreme Court has ‘succinctly’ defined an association-in-fact enterprise as ‘any group of persons

associated together for a common purpose of engaging in a course of conduct.’” Al-Rayes v.

Willingham, 914 F.3d 1302, 1307 (11th Cir. 2019) (citing Boyle v. United States, 556 U.S. 938,

946 (2009). The associations that form an enterprise may be “formal or informal.” Al-Rayes, 914

F.3d at 1307. Because a corporation is a person for purposes of RICO, Williams General Corp. v.

Stone, 280 Ga. 631 (2006), an association-in-fact enterprise may include one or more corporations.

See, e.g., United States v. Goldin Indus., Inc., 219 F.3d 1271, 1274–77 (11th Cir. 2000) (enterprise

consisting of three related corporations was distinct from the corporations themselves); Williams

v. Mohawk Indus., Inc., 465 F.3d 1277, 1284 (11th Cir. 2006) (association-in-fact enterprise

consisting of corporation and recruiters who offered a pool of illegal workers and were sometimes

assisted by the corporation’s employees, who supplied social security cards to prospective or

existing employees so they could assume a new identity).

   An enterprise can have both legitimate and illegitimate purposes. United States v. Turkette,

452 U.S. 576, 584 (1981) (RICO applies to both legitimate and illegitimate enterprises); United

States v. Andino-Morales, 73 F.4th 24, 34 (1st Cir. 2023) (nothing in the statutory definition of

enterprise requires that the enterprise be defined solely by a criminal purpose). Also, there is no

requirement that the association originally form for a wrongful purpose; it is enough that from an

existing relationship the defendants later came to share a wrongful purpose. Al-Rayes, 914 F.3d at

1308 (an association-in-fact enterprise may consist of parties who had preexisting relationships

and later joined together for the common purpose of engaging in illegal activity). Moreover, a

person associated with an enterprise may have more than one role in that enterprise. Boyle v. United




                                               -21-
    Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 22 of 32




States, 556 U.S. 938, 948 (2009) (“different members may perform different roles at different

times.”).

   Rangel and Cruz’s employer-employee relationship with the Corporate Defendants did not

preclude them from forming a RICO enterprise together with those entities and other employees

of the Corporate Defendants. Likewise, the fact that Rangel and Cruz were employees of the

Corporate Defendants did not preclude them from also associating with the Corporate Defendants

for purposes beyond the scope of that employment, and the Corporate Defendants cite no authority

for the proposition that employee status somehow precludes or negates other forms of association

outside of that employment.

   The Davey-Rangel Enterprise included the Corporate Defendants, Branch, Rangel, Conner,

Cruz and others. (AC, ¶¶ 98–108; RS, pp. 72–74, 80). Rangel, for example, associated with the

Corporate Defendants both formally and informally. Formally, he was an employee, specifically a

crew chief. (AC, ¶¶ 19, 218; RS, p. 3). Informally, he participated as an associate in the Davey-

Rangel Enterprise, engaging in criminal activities for the mutual benefit of the associates,

including Cruz and the Corporate Defendants. (AC, ¶¶ 37, 102–104; RS, pp. 29–30).

   Cruz wrongly assumes that a person can only play one role within an enterprise, i.e., if a person

is an employee, that is the end of the analysis no matter what other roles that person may assume.

But he cites no authority for the proposition that status as an employee somehow precludes other

forms of association beyond or in addition to the employment relationship and Plaintiff has found

no such authority. The employer-employee relationship with the Corporate Defendants did not

preclude Rangel and Cruz from also forming part of an association-in-fact enterprise engaged in

activities beyond the scope of their employment.




                                               -22-
    Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 23 of 32




    The false dichotomy the Cruz promotes is similar to the invalid argument that a person who is

associated with one enterprise cannot also be associated with another. See United States v.

Connolly, 341 F.3d 16, 28 (1st Cir. 2003) (“Membership in the Winter Hill Gang does not, ipso

facto, preclude membership in another criminal enterprise.”). Just as a person can associate with

two different enterprises, he can play two different roles in the same enterprise, one as an employee

and another as a co-venturer. Boyle, 556 U.S. at 948 (person associated with enterprise may

perform different roles at different times); Williams General, 280 Ga. 631 (2006)(corporation may

be held directly liable for conspiring with its officers).

    A natural person is legally distinct from a corporation. Cedric Kushner Promotions, Ltd. v.

King, 533 U.S. 158 (2001). Only when an employee is acting within the scope of his role for the

corporation is a limited exception to that legal distinctness recognized, under federal RICO. Id. at

164. Thus, while under federal RICO “plaintiffs may not plead the existence of a RICO enterprise

between a corporate defendant and its agents or employees acting within the scope of their roles

for the corporation,” Al-Rayes, 836 F.3d at 1357 (emphasis supplied), that language itself

recognizes there is no distinctness issue if a corporate defendant associates with an employee to

violate RICO through conduct outside the scope of that person’s employment. See, e.g., Valenzuela

v. Swift Beef Co., No. 3:06-CV-2322-N, 2007 WL 9723147, at *8 (N.D. Tex. Dec. 20, 2007) (no

distinctness issue in federal RICO action brought by American-citizen employees against

employer for hiring illegal immigrants, where false documentation middlemen “maintained their

own business operations,” and court could not say documentation middlemen “provided false

documentation as mere agents/employees” of employer).

    Indeed, Ray, a case upon which Cruz relies, acknowledges four separate times that the

exception treating employees as not being distinct from their corporate employer is limited to




                                                 -23-
    Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 24 of 32




situations “when those individuals are operating in their official capacities for the corporation.”

836 F.3d at 1355, “are carrying on the normal work of the corporation,” id. at 1356; are “acting

within the scope of their roles for the corporation,” id. at 1357; and are “acting within the scope

of their employment . . . .” id. (emphasis added to each quote). Cases upon which Ray relied also

recognize this limitation. See, e.g., Ray, 836 F.3d at 1356 (describing the Second Circuit as holding

in Cruz v. FXDirectDealer, LLC, 720 F.3d 115, 121 (2nd Cir. 2013), that “a defendant corporation

cannot form a RICO enterprise with its own employees or agents who are carrying out the normal

work of the corporation.”) (emphasis added). So do Eleventh Circuit cases subsequent to Ray. For

example, DJ Lincoln Enterprises, Inc. v. Google LLC, No. 21-12894, 2022 WL 203365 (11th Cir.

Jan. 24, 2022), emphasized that the plaintiff failed to explain how “any of the individuals

associated with those organizations, operated outside their official capacity.” Id. at *2 (emphasis

added), citing Ray, 836 F.3d at 1355. Consequently, where individuals who formed part of an

enterprise “did not merely act as officers or employees of enterprise members, but instead acted in

their dual roles as Standard employees and enterprise associates,” the association-in-fact enterprise

“is distinct from any of the particular company or individual defendants.” Standard Chlorine of

Del., Inc. v. Sinibaldi, 821 F. Supp. 232, 249 (D. Del. 1992).

   Cruz’s efforts to apply the exception for employees acting exclusively within their official

capacity relies upon ignoring the allegations of the Amended Complaint and the RICO Statement,

asserting that the associated members of the enterprise were engaged in nothing other than the

Corporate Defendants’ supposed ordinary course of business. (Doc. 209 pp. 26–27). The flaw in




                                                -24-
     Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 25 of 32




this argument is that the Plaintiff’s well-pleaded allegations—which must be accepted as true at

this stage of the proceedings—are to the contrary.6

    The Amended Complaint and the RICO Statement recite multiple ways in which Rangel’s

participation in the enterprise, for example, included conduct outside the ordinary duties of his

employment as a crew chief. For example, Rangel ran an illegal labor recruiting/labor broker

operation that supplied illegal alien workers hired by the Corporate Defendants. (AC, ¶¶ 20, 102;

RS, pp. 28–29). To further that illegal alien labor recruiting/labor broker operation, Rangel

procured false identifications and false identification documents for those illegal-alien employees,

which were used to paper the Corporate Defendants’ files in case Georgia Power or a governmental

agency inquired into the immigration status of those employees. (AC, ¶¶ 20, 30, 102, 115–116;

RS, pp. 29–30). Rangel further harbored much of the illegal-alien workforce at his 26-acre

compound. (AC, ¶¶ 25-26).

    The Corporate Defendants were aware of, participated in and facilitated these illegal activities

by (1) mailing the illegal-alien employees’ paychecks to Rangel, and later (2) depositing the

illegal-alien employees’ wages into a bank account controlled by Rangel. (AC, ¶¶ 23, 105). These

paychecks and wire transfers totaled over $3,000,000. (AC, ¶ 23; RS, p. 29). After receiving the

wages of those employees from the Corporate Defendants, Rangel paid himself for providing false

identities and false identification documents and harboring the illegal aliens at his compound. (AC,

¶ 22–23, 25; RS, pp. 29–30). For his part, Cruz was paid thousands of dollars for his assistance in

the illegal-alien-employment-harboring scheme. (AC, ¶ 24; RS, p. 34).




6
 In addition to the conduct of Rangel and Cruz outside of their ordinary duties of employment, Conner, as alleged,
participated in the enterprise’s unlawful activities, in part, by committing perjury to conceal the enterprise’s unlawful
activities, which perjury was committed after her termination from the Corporate Defendants. (AC, ¶ 107).


                                                         -25-
     Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 26 of 32




    Under these allegations, Rangel and Cruz on the one hand, and the Corporate Defendants, on

the other, were not just employees and employers, they were partners in crime. Cf., Hicks v. State,

295 Ga. 268, 275 (2014) (conspirators are partners in crime). Rangel’s relationship with the

Corporate Defendants included crimes committed for their mutual benefit that ranged far outside

the scope of any normal employee-employer relationship.7 While Rangel’s activities were not

within the scope of his responsibilities as a crew chief for the Corporate Defendants, they were in

furtherance of the enterprise’s unlawful activities. (AC, ¶ 102). Rangel’s “off the clock” activities

make this clear. Before and after regular working hours, he procured fraudulent identification for

the Corporate Defendants’ illegal-alien employees and harbored them on his property. (AC, ¶¶ 20,

23, 25; RS, pp. 29-30). By their nature, Rangel’s harboring activities occurred outside of his work

hours as a crew chief for the Corporate Defendants, e.g., when the illegal-alien employees were

sleeping and during their days off. The Corporate Defendants did not directly pay Rangel for those

activities; instead, the illegal-alien employees’ paychecks and wages were sent to Rangel, enabling

him to deduct monies for the fraudulent documentation and the harboring. (AC, ¶¶ 22–23, 75; RS,

pp. 29-30). These are not the “routine tasks” of a crew chief at a tree trimming company. The fact

that Rangel’s compensation for the illegal labor recruiting, false identification, and harboring

operations was separate from the wages he received from the Corporate Defendants further

demonstrates that those activities were not within the scope of his ordinary job duties. (AC, ¶¶ 22,

102).

    Rangel’s interactions with the Corporate Defendants consisted of, furthered, or contemplated

criminal activity. The Davey-Rangel enterprise relied on these coordinated and mutually beneficial




7
  Under Georgia law, a defendant need only participate in the enterprise; the federal RICO requirement that a
defendant operate or manage the enterprise does not apply. Faillace, 269 Ga. App. at 869.


                                                    -26-
       Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 27 of 32




acts of criminal activity8 to provide the Corporate Defendants with an inexpensive and obedient

workforce of illegal aliens and prevent the disclosure of those illegal activities. (AC, ¶ 37; RS, p.

7). When Montoya complained about these and other illegal activities and threatened to tell law

enforcement, the Davey-Rangel enterprise retaliated, harassed, misled, assaulted and murdered

him.

    Just as a “marriage certificate does not transform alleged mail and wire fraud into ordinary

household management,” Al-Rayes, 914 F.3d at 1310, an employer-employee relationship does

not transform the provision of false identities and identification documents, harboring of illegal

aliens, intimidation of witnesses or the murder of a whistleblower into ordinary job

responsibilities.9

                     3. Count 3 Adequately Alleges a RICO Conspiracy.

    O.C.G.A. § 16-14-4(c) differs from federal RICO’s conspiracy provision, 18 U.S.C. § 1962(d),

providing for two separate violations. Subsection (c)(1) provides for a conspiracy violation, while

subsection (c)(2) provides for an endeavor violation, a violation which does not exist under federal

RICO. The Amended Complaint alleges that the Defendants endeavored to maintain control of the

Davey-Rangel Enterprise through a pattern of racketeering activity, in violation of subsection

(c)(2). (AC, ¶¶ 163-164, 172). Cruz’s motion to dismiss does not challenge Plaintiff’s endeavor

claim.




8
  For examples of the benefits to the Corporate Defendants, see AC, ¶¶ 28–30, 37; RS, p. 17. For examples of the
benefits to Rangel, see AC, ¶¶ 23–25; RS, pp. 29–30.
9
  See also Trollinger v. Tyson Foods, Inc., No. 402-CV-23, 2007 WL 1574275 (E.D. Tenn. May 29, 2007) (rejecting,
in federal RICO suit against poultry processor and officers/employees for alleged “Illegal Immigrant Hiring Scheme,”
processor’s argument that it could not be liable for conducting its own affairs, reasoning that complaint alleged
processor was not conducting its own affairs, but rather was carrying out the “Illegal Immigrant Hiring Scheme”).


                                                       -27-
    Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 28 of 32




   While Cruz does challenge Plaintiff’s conspiracy claim under subsection (c)(1), their argument

that it fails because the substantive RICO counts (Counts 1 and 2) are subject to dismissal is wrong

because Counts 1 and 2 are adequately alleged, as described above.

           B. The Non-RICO Counts

   Cruz contends that the Amended Complaint fails to state claims against him for assault and

battery. “A cause of action for battery will lie for any unlawful touching . . . .” Lawson v.

Bloodsworth, 313 Ga. App. 616, 618 (2012) (internal citation omitted) (emphasis added). Cruz

argues that the Amended Complaint contains no allegations that he unlawfully touched Montoya,

and, therefore, he cannot be held liable for battery. (Doc. 208, p. 22). As the Amended Complaint

explains, however, Cruz “put in place actions to the intimidation and physical injury of Eliud

Montoya. These actions include, but are not limited to, repeated gunshots made by [Cruz’s

colleague] Juan Rangel, at the direction of [Cruz’s other colleague] Defendant Pablo Rangel, into

Montoya’s body . . . .” (AC, ¶ 177 (emphasis added)). As the Amended Complaint also states, on

August 18, 2017, Cruz informed all the Savannah Call Center employees that work for the next

day had been cancelled. (AC, ¶ 132). In doing so, Cruz “intended to aid and abet the retaliation

against a federal witness . . . .” (AC, ¶ 132). Thus, the allegations in the Amended Complaint

sufficiently state a claim against Cruz for battery.

   Cruz next asserts that the Amended Complaint fails to state a claim against him for assault.

“To constitute an assault no actual injury need be shown, it being only necessary to show an

intention to commit an injury, coupled with an apparent ability to do so.” Wallace v. Stringer, 250

Ga. App. 850, 853 (2001) (internal citations and quotation marks omitted) (emphasis added). Cruz

argues that Plaintiff’s Amended Complaint contains no allegations that Cruz “himself” threatened

Montoya or that Cruz “himself” had an intention to commit an injury to Mr. Montoya, coupled




                                                 -28-
    Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 29 of 32




with the apparent ability to do so. (Doc. 208, p. 22). The Amended Complaint, however, outlines

in detail how each of the Defendants, including Cruz, “engaged in a systematic effort to silence

Montoya, through physical threats, economic threats, intimidation, retaliation, deception, and

eventually murder.” (AC, ¶ 53 (emphasis added)). The Amended Complaint further states that

many of the racketeering acts of Defendants, including Cruz, “were specifically directed at

Montoya, intended to cause him injury, and did in fact cause him injury.” (AC, ¶ 143 (emphasis

added)). Moreover, the Amended Complaint makes plain that Cruz—along with his colleague,

Rangel—“threatened Montoya with violence and had the apparent ability to perform said acts

of violence. Said threats began in early May of 2017.” (Id., ¶ 181 (emphasis added)). Thus,

Plaintiff has sufficiently pled that Cruz intended to injure Montoya, and the Amended Complaint

sufficiently states a claim against him for assault.

   Next, Cruz avers that the Amended Complaint fails to state a claim against him for intentional

infliction of emotional distress (IIED). “To prevail on a claim for [IIED], Plaintiffs must show

that: (1) defendants' conduct was intentional or reckless; (2) defendants' conduct was extreme and

outrageous; (3) a causal connection existed between the wrongful conduct and the emotional

distress; and (4) the emotional harm was severe.” Gifford v. City of Broxton, Georgia, No. CV

508-084, 2010 WL 11607353, at *12 (S.D. Ga. Sept. 24, 2010) (internal citation and quotation

marks omitted). In Gifford, this Court denied summary judgment on the plaintiff’s IIED claim

where the defendant police officer threatened to kill the plaintiff. Id. at *6, 12.

   Here, the Amended Complaint states a claim against Cruz for IIED. First, it alleges,

“Defendant Cruz engaged in a course of extreme and outrageous conduct as fully set forth above

with the intention of causing, or reckless disregard of the probability of causing, emotional distress

to Eliud Montoya.” (AC, ¶ 258). Some of Cruz’s extreme and outrageous conduct outlined in the




                                                 -29-
    Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 30 of 32




Amended Complaint are that he: (1) inspired death threats against Montoya, by helping incite a

riot against him; (2) conveyed to Montoya threatening messages on Pablo Rangel’s behalf; and (3)

aided, abetted, and solicited retaliation against Montoya, in part by calling off work for all

Savannah Call Center employees on the day Montoya was murdered. (AC, ¶¶ 60-62, 132, 243).

Cruz thus played a key role in the scheme to silence, threaten, and retaliate against Montoya,

culminating in death threats against Montoya and Montoya’s murder. (Id., ¶¶ 53, 124, 158, 242).

Also, contrary to Cruz’s argument that Plaintiff does not allege that Montoya suffered emotional

distress, the Amended Complaint states that Cruz’s actions “caused severe emotional distress to

Eliud Montoya, up until the point of his murder.” (Id., ¶ 242 (emphasis added)). Accordingly,

the Amended Complaint satisfies the requirements for pleading IIED against Cruz.

   Lastly, diverging from his co-defendants, Cruz argues, “[a]s Plaintiff has failed to plead a

single substantive claim against Cruz, his derivative Survival, OCGA § 13-6-11 and Punitive

Damages claims fail as well and should therefore be dismissed.” (Doc. 208, p. 24). As detailed

above, however, the Amended Complaint successfully pleads multiple substantive claims against

Cruz. Therefore, Plaintiff’s derivative claims for survival, attorneys’ fees, and punitive damages

likewise beat Cruz’s motion.

   IV.     Conclusion

   For the foregoing reasons, Cruz’s June 2024 motion to dismiss the Amended Complaint

should be denied.

   Respectfully submitted this 26th day of July, 2024.


                                 [Signatures on following page.]




                                              -30-
  Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 31 of 32




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                                         -31-
    Case 4:18-cv-00184-RSB-BKE Document 221 Filed 07/26/24 Page 32 of 32


                               CERTIFICATE OF SERVICE

       I certify that I have this day served the foregoing through the Court’s ECF system upon all

counsel registered to receive service, and that I have served the foregoing via U.S. mail on the

following: Pablo Rangel-Rubio (Pro Se), Register No. 22405-021, USP Atwater, Post Office Box

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       This 26th day of July, 2024.

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